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AO 91 (Rev. 11/11) Criminal Complaint F | L E D

UNITED STATES DISTRICT COURT NOV 2 5 2020

for the CLERK, U.S. CT COURT
Western District of Texas WESTERN D 1 OF Tene

 

 

 

BY
. . aROTY CLERK
United States of America )
Vv. ) ;
DR-2o - 20/K MO,
Julian NEAVES ) — CaseNo. DR-2-Z0/kh-O|
(DOB: 08/13/2002)
)
Defendants)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 11/23/2020 inthe county of Kinney ———_—_siinthe
Western District of Texas _ , the defendant(s) violated:
Code Section Offense Description
8 USC 1324 (a)(1)(A)(ii) & (B)(i) Illegal Alien Transportation- Knowing or in reckless disregard of the fact that

an alien has come to, entered, or remains in the United States in violation of
law, transports, or moves or attempts to transport or move such alien within

the United States by means of transportation or otherwise, in furtherance of

such violation of law.

This criminal complaint is based on these facts:

See Attachment A

Continued on the attached sheet.

 

  

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Co (plair nt 's sit mature

Israel Borup, HSI Special Agent

Printed name and title

 

Sworn to before me and signed in my presence. \
[\
Date: 11/25/2020 4

U Yudge’ £ signature

City and state: __ Del Rio, Texas Victor Garcia, United States Magistrate Judge
a Pr inted name and title

 

 
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A2-20- 29) ¢m-a

Attachment “A”

On November 23, 2020, at approximately 5:30 PM, Texas Department of Public Safety
(TXDPS) troopers conducted a vehicle stop on a silver 2012 Chevrolet Traverse displaying
Texas temporary license plate “86170Z2” on Highway 277 near Ranch Road 693 in Kinney
County, Texas. The vehicle-stop resulted in a failure-to-yield vehicle pursuit, with speeds in
excess of 100 miles per hour. Kinney County Sheriff's Office (KCSO) deputies and United
States Border Patrol (USBP) agents responded to assist.

During the pursuit, TXDPS troopers observed two (2) rear passengers jump from the moving
vehicle and land on the roadside, sustaining injuries. These injured passengers were identified as
citizens of Honduras and El Salvador, unlawfully present in the US. The pursuit eventually

came to an end on HWY 55 near Uvalde, Texas after a spike-strip was successfully utilized on
the Chevrolet Traverse.

KCSO deputies encountered and arrested the driver, identified as Julian NEAVES, a US citizen,
and one (1) rear passenger, identified as a citizen of Honduras, unlawfully present in the US. All
occupants were transported to the Brackettville Border Patrol Station. Homeland Security
Investigations, Del Rio, Texas (HSI Del Rio) responded to investigate. During a post-Miranda
interview, NEAVES admitted to his knowledge and involvement in the offense.

NEAVES stated he traveled with a third party from San Antonio, Texas to Eagle Pass, Texas
where he picked up three (3) illegal aliens (IA) from an unidentified IA stash house. NEAVES
stated he was transporting the [As to San Antonio when stopped by law enforcement and he fled.
NEAVES stated he believed he was going to be paid an undetermined amount of money by the
third party upon returning to San Antonio with the IAs.
